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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO

                                      CASE NO.:

JAMES WATSON,

      Plaintiff,

v.

THE PAELLA BAR, LLC
d/b/a PEPE’S CANTINA

      Defendant.
                                                          /

                   COMPLAINT FOR INJUNCTIVE RELIEF

      Plaintiff James Watson (“Plaintiff”) hereby sues Defendant The Paella Bar,

LLC doing business as Pepe’s Cantina (“Defendant”), a Florida limited liability

company, for Injunctive Relief, attorney’s fees, litigation expenses and costs pursuant

to Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C.

§§s 12181-12189 (“ADA”), 28 C.F.R. Part 36, et seq.

      1.     Venue lies in the Middle District of Florida pursuant to 28 U.S.C. §

1391(b) and Local Rule 1.04, in that the original transaction or occurrence giving

rise to this cause of action occurred in this District.

      2.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been

given original jurisdiction over actions which arise from Defendant’s violations of
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Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also

28 U.S.C. § 2201 and § 2202.

      3.     Plaintiff is a Florida resident, is sui juris, and qualifies as an individual

with disabilities as defined by the ADA. Plaintiff is legally blind and a member of a

protected class under the ADA 42 U.S.C. §12102(1) & (2), the regulations

implementing the ADA as set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C.

3602, §802(h). Plaintiff is substantially limited in the major life activity of seeing.

Plaintiff’s disability is defined in 28 C.F.R. §36.105(b)(2).

      4.     Plaintiff uses the internet and a mobile device to help him navigate a

world of goods, products and services like sighted individuals. The internet, websites

and mobile applications provide him a window into the world that he would not

otherwise have. He brings this action against Defendant for offering and maintaining

a mobile website (software that is intended to run on mobile devises such as phones

or tablet computers) that is not fully accessible and independently usable by visually

impaired consumers. Plaintiff utilizes the Apple Screen Reader VoiceOver software

to read computer materials and/or access and comprehend internet mobile website

information which is specifically designed for the visually impaired.

      5.     Plaintiff is also an advocate of the rights of similarly situated disabled

persons and is a “tester” for the purpose of asserting his civil rights. As such, he

monitors mobile websites to ensure and determine whether places of public



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accommodation and/or their mobile websites are in compliance with the ADA.

         6.      Defendant owns and operates a place of public accommodation which

is a Mexican specialty restaurant branded as “Pepe’s Cantina.” The Pepe’s Cantina

restaurant is located within the district at 433 W New England Avenue Suite A,

Winter Park, Florida 32789 and is open to the public. As such, it is a Place of Public

Accommodation subject to the requirements of Title III of the ADA and its

implementing regulation as defined by 42 U.S.C. §12181(7)(B), §12182, and 28

C.F.R. §36.104(2). The Pepe’s Cantina restaurant is also referenced throughout as

“place of public accommodation,” “Pepe’s Cantina restaurant,” or “restaurant.”

         7.      Defendant is defined as a “Public Accommodation" within meaning of

Title III because Defendant is a private entity which owns and/or operates “[A]

restaurant, bar, or other establishment serving food or drink,” 42 U.S.C.

§12181(7)(B) and 28 C.F.R. §36.104(2).

         8.      The Pepe’s Cantina brand has been developed into a franchise, and

there are a total of three Pepe’s Cantina restaurants as of the time of filing of this

action as follows:

      • Pepe’s Cantina located in Winter Park at 433 W New England Avenue Suite

         A, Winter Park, Florida 32789 is owned by the Defendant which is also the

         listed owner of the “Pepe’s Cantina” trademark1 name;


1   According to the Florida Division of Corporations through https://dos.myflorida.com/sunbiz


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   • Pepe’s Cantina located in Clermont at 794 W Minneola Avenue, Clermont,

      Florida 34711 (owned by Pepe’s Cantina I Drive LLC);

   • Pepe’s Cantina located in DeBary at 54 South Charles Richard Beall

      Boulevard, DeBary, Florida 32713 (owned by Pepe’s Cantina Debary LLC)

      9.     Subsequent to the effective date of the ADA, Defendant constructed, or

caused to be constructed, the https://www.pepescantina.com mobile website

(hereinafter “mobile website”) for the general public to access on their mobile

devices (phones, tablets). This mobile website supports, is an extension of, is in

conjunction with, is complementary and supplemental to, Defendant’s Pepe’s

Cantina restaurant in Winter Park. The mobile website delineates the goods,

services, accommodations, privileges, benefits and facilities available to patrons at

the restaurant’s physical location.

      10.    The mobile website is offered by Defendant as a way for the public to

become familiar with the Pepe’s Cantina menu selections, as well as information on

hours of operation, restaurant location, provides a link to reserve a table for dining

within each restaurant location, and provides other information Defendant seeks to

communicate to the public. The mobile website also links to Pepe’s Cantina

Facebook and Instagram pages. By the provision of menu selection and reservation

services, the mobile website is an integral part of the goods and services offered by

Pepe’s Cantina restaurants. By this nexus, the mobile website is characterized as a


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Place of Public Accommodation subject to Title III of the ADA2, 42 U.S.C. §

12181(7)(B) and 28 C.F.R. §36.104.

         11.   Defendant’s mobile website allows mobile device users to use a mobile

platform through a connection to Wi-Fi or cellular data so that users can manage

their dining choice from their mobile device. Defendant has subjected itself to the

ADA because its mobile website is offered as a tool to promote, advertise and sell

its products and services from Pepe’s Cantina restaurant locations, including

Defendant’s Winter Park Pepe’s Cantina restaurant location. As a result, the mobile

website must interact with its Pepe’s Cantina restaurant and the public, and in doing

so must comply with the ADA, which means it must not discriminate against

individuals with disabilities and may not deny full and equal enjoyment of the goods

and services afforded to the general public.3

         12.   Defendant’s mobile website does not properly interact with VoiceOver

screen reader software technology in a manner that allows blind and visually



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 “The Department of Justice has long taken the position that both State and local government
Websites and the websites of private entities that are public accommodations are covered by the
ADA. In other words, the websites of entities covered by both Title II and Title III of the statute
are required by law to ensure that their sites are fully accessible to individuals with disabilities.”
(See: Statement of Eve Hill Senior Counselor to the Assistant Attorney General for the Civil Rights
Department of Justice - Before the Senate Committee on Health, Education, Labor & Pensions
United States Senate – Concerning The Promise of Accessible Technology: Challenges and
Opportunities – Presented on February 7, 2012.
3According to Statista, almost half of web traffic in the United States originated form mobile
devices in 2021. Therefore, Defendant knew or should have known that potential customers would
be using the mobile version of its website and provided accessibility for blind users.


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impaired individuals to comprehend the mobile website and does not provide other

means to accommodate blind and visually impaired individuals.

       13.    Like the seeing community, Plaintiff would like the opportunity to be

able to use the https://www.pepescantina.com mobile website to comprehend the

restaurant menu selections and to test for the ability to make reservations. However,

unless Defendant is required to eliminate the access barriers at issue and required to

change its policies so that access barriers do not reoccur, Plaintiff will continue to

be denied full and equal access to Defendant’s mobile website and will be deterred

from fully using that mobile website.

       14.    Plaintiff is continuously aware of the violations on Defendant’s mobile

website and is aware that it would be a futile gesture to attempt to utilize the mobile

website as long as those violations exist unless he is willing to suffer additional

discrimination.

       15.    Defendant and alike restaurants are fully aware of the need to provide

full access to all visitors to its mobile website as such barriers result in discriminatory

and unequal treatment of individuals with disabilities who are visually impaired and

result in punishment and isolation of blind and low vision individuals from the rest

of society.

       16.    Plaintiff has no plain, adequate, or complete remedy at law to redress

the wrongs alleged herein and this action is his only means to secure adequate redress



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from Defendant’s discriminatory practice.

      17.    Notice to Defendant is not required as a result of Defendant’s failure to

cure the violations. Enforcement of the rights of Plaintiff is right and just pursuant

to 28 U.S.C. §§ 2201, 2202.

      18.    Plaintiff has been obligated to retain the civil rights law office of J.

Courtney Cunningham, PLLC and has agreed to pay a reasonable fee for services in

the prosecution of this cause, including costs and expenses incurred. Plaintiff is

entitled to recover those attorney’s fees, costs and expenses from Defendant pursuant

to 42 U.S.C. §12205 and 28 CFR §36.505.

            COUNT I – VIOLATIONS OF TITLE III OF THE ADA

      19.    The ADA requires that Public Accommodations (and Places of Public

Accommodation) are required to ensure that communication is effective, which

includes the provision of auxiliary aids and services for such purpose.

      20.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and

services includes “voice, text, and video-based telecommunications products and

systems.” 28 C.F.R. Section 36.303(b)(2) specifically states that (VoiceOver) screen

reader software is an effective method of making visually delivered material

available to individuals who are blind or have low vision.

      21.    28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public

accommodations must furnish appropriate auxiliary aids and services where



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necessary to ensure effective communication with individuals with disabilities. “In

order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and

independence of the individual with a disability.”

      22.    Part 36 of Title 28 of the C.F.R. was designed and is implemented to

effectuate subtitle A of Title III of the ADA, which prohibits discrimination on the

basis of disability by public accommodations and requires places of public

accommodation to be designed, constructed, and altered in compliance with the

accessibility standards established by Part 36.

      23.    Defendant’s mobile website has been designed to integrate with its

Pepe’s Cantina restaurant through the provision of a reservation service; therefore,

the mobile website is an extension of Defendant's Pepe’s Cantina Winter Park

restaurant (which is a Place of Public Accommodation). By and through its mobile

website, Defendant extends its Place of Public Accommodation into individual

persons' homes and portable devices wherever located. The mobile website is a

service, facility, privilege, advantage, benefit and accommodation of Defendant's

Place of Public Accommodation. As such, Defendant’s mobile website is integrated

with, and is a nexus to, its Pepe’s Cantina restaurant Winter Park location. Therefore,

it is governed by the following provisions:

             a.     U.S.C. Section 12182(a) provides: “No individual shall be



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discriminated against on the basis of disability in the full and equal enjoyment of the

goods, services, facilities, privileges, advantages, or accommodations of any place

of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.”

             b.     42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be

discriminatory to subject an individual or class of individuals on the basis of a

disability or disabilities of such individual or class, directly, or through contractual,

licensing, or other arrangements, to a denial of the opportunity of the individual or

class to participate in or benefit from the goods, services, facilities, privileges,

advantages, or accommodations of an entity[.]”

             c.     42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be

discriminatory to afford an individual or class of individuals, on the basis of a

disability or disabilities of such individual or class, directly, or through contractual,

licensing, or other arrangements with the opportunity to participate in or benefit from

a good, service, facility, privilege, advantage, or accommodation that is not equal to

that afforded to other individuals[.]”

             d.     42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be

discriminatory to provide an individual or class of individuals, on the basis of a

disability or disabilities of such individual or class, directly, or through contractual,

licensing, or other arrangements with a good, service, facility, privilege, advantage,



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or accommodation that is different or separate from that provided to other

individuals, unless such action is necessary to provide the individual or class of

individuals with a good, service, facility, privilege, advantage, or accommodation,

or other opportunity that is as effective as that provided to others[.]”

             e.     42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services,

facilities, privileges, advantages, and accommodations shall be afforded to an

individual with a disability in the most integrated setting appropriate to the needs of

the individual.”

             f.     42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding

the existence of separate or different programs or activities provided in accordance

with this section, an individual with a disability shall not be denied the opportunity

to participate in such programs or activities that are not separate or different.”

             g.     42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a

failure to make reasonable modifications in policies, practices, or procedures, when

such modifications are necessary to afford such goods, services, facilities, privileges,

advantages, or accommodations to individuals with disabilities, unless the entity can

demonstrate that making such modifications would fundamentally alter the nature

of such goods, services, facilities, privileges, advantages, or accommodations[.]”

             h.     42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination:

“a failure to take such steps as may be necessary to ensure that no individual with a



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disability is excluded, denied services, segregated or otherwise treated differently

than other individuals because of the absence of auxiliary aids and services, unless

the entity can demonstrate that taking such steps would fundamentally alter the

nature of the good, service, facility, privilege, advantage, or accommodation being

offered or would result in an undue burden[.]”

       24.   Plaintiff attempted to access and test Defendant's mobile website, but

was unable to do so. Plaintiff continues to be unable to enjoy full and equal access

to the mobile website and/or understand the content therein because numerous

portions of the mobile website do not interface with mobile VoiceOver screen reader

software. Specifically, features of the mobile website that are inaccessible to

VoiceOver screen reader software users include, but are not limited to, the following

(citing the WCAG 2.1 Level A and AA Guidelines):

  i.   Guideline 1.3.2 Meaningful Sequence is violated. Content must be presented
       in a meaningful order, and the mobile website fails to meet this requirement.
       For example, the Sunday Brunch menu does not receive focus and is not
       announced. After the pagination numbers are announced at the top of the
       menu, focus skips over the menu image and moves to the Locations
       information. None of the content in the image is announced.

 ii.   Guideline 2.4.3 Focus order: The site is required to provide focus in a logical
       order, and this has been violated. The Menu does not receive focus and is not
       announced so mobile VoiceOver screen reader software users cannot access
       the menu. Focus skips over the menu image and moves directly to the
       unlabeled Home link.

iii.   Guideline 3.3.2 Labels or Instructions is violated. Elements must be labeled
       and given instructions, and the mobile website fails to do so. For example, All
       of the icons in the reservation widget receive focus so mobile VoiceOver

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      screen reader software users must swipe to and from each icon, but they do
      not hear an accessible label. For example, each of the chevrons are announced
      as only "m."

iv.   Guideline 4.1.2 Name, Role, Value is violated. All elements must be built for
      accessibility and this is not the case. Mobile VoiceOver screen reader software
      users are not able to change a reservation date. While focus moves to the date
      picker popup when the date picker popup is displayed, focus exits the popup
      after the month is announced so mobile VoiceOver screen reader software
      users cannot swipe to hear any of the days.

      25.    In this instant case, Defendant’s mobile website reservation system is

linked to a third party vendor. The fact that a portion of the WCAG 2.1 Level A and

AA Guideline violations may be related to the third party vendor’s reservation

platform does not absolve Defendant of culpability. Because restaurants are places

of public accommodation, their operators are subject to the requirements of Title III

as well. 42 U.S.C. § 12181(7)(b). Those requirements include a prohibition against

subjecting patrons with disabilities to discrimination “through contractual, licensing,

or other arrangements,” such as use of third party vendors’ inaccessible platforms

for making reservations. 42 U.S.C. § 12182(b)(1)(A); See Kohler v Bed Bath &

Beyond of Cal., LLC, 780 F.3d 1260, 1264-66 (9th Cir. 2015) (Pre-existing

obligations under Title III of the ADA may not be avoided through contractual

arrangements, and those obligations remain even where compliance is under control

of another party); Robles v. Yum! Brands, Inc., 2018 WL 566781, *4 (C.D. Cal.

January 24, 2018) (restaurant operators are liable for website and mobile app

accessibility where there is a nexus to the restaurants themselves). Regardless of

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how Defendant chooses to accept reservations, it has a nondelegable duty under the

ADA to do so in a method that does not discrimination against blind persons.

       26.    As the owner and/or operator of the Pepe’s Cantina restaurant mobile

website, Defendant is required to comply with the ADA and the provisions cited

above. This includes Defendant’s obligation to create and maintain a mobile website

that is accessible to and usable by visually impaired persons so that they can enjoy

full and equal access to the mobile website and the content therein, including the

ability to make a reservation to dine within its Winter park Pepe’s Cantina restaurant.

       27.    With respect to its mobile website, Defendant has violated the ADA by

failing to interface its mobile website with VoiceOver screen reader software utilized

by visually impaired individuals (as specifically delineated within paragraph 24)

either directly or through contractual, licensing or other arrangements. Defendant’s

violations have resulted in Defendant denying Plaintiff accommodation on the basis

of his disability:

              a.     by depriving Plaintiff of the full and equal enjoyment of the

goods, services, facilities, privileges, advantages, or accommodations of its place of

public accommodation (42 U.S.C. § 12182(a));

              b.     in the denial of providing Plaintiff the opportunity to participate

in or benefit from the goods, services, facilities, privileges, advantages, or

accommodations (42 U.S.C. § 12182(b)(1)(A)(i));



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             c.    in failing to afford Plaintiff the opportunity to participate in or

benefit from a good, service, facility, privilege, advantage, or accommodation that

is equal to that afforded to other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

             d.    by providing Plaintiff a good, service, facility, privilege,

advantage, or accommodation that is different or separate from that provided to other

individuals (unless such action is necessary to provide the individual or class of

individuals with a good, service, facility, privilege, advantage, or accommodation,

or other opportunity that is as effective as that provided to others) (42 U.S.C. §

12182(b)(1)(A)(iii));

             e.    by failing to afford Plaintiff goods, services, facilities, privileges,

advantages, and accommodations in the most integrated setting appropriate to the

needs of the disabled individual (42 U.S.C. § 12182(b)(1)(B));

             f.    notwithstanding the existence of separate or different programs

or activities provided in accordance with this section, by denying Plaintiff the

opportunity to participate in such programs or activities that are not separate or

different. (42 U.S.C. § 12182(b)(1)(C));

             g.    by a failure to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford such

goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities (unless the entity can demonstrate that making such modifications



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would fundamentally alter the nature of such goods, services, facilities, privileges,

advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

             h.      by a failure to take such steps as may be necessary to ensure that

disabled individuals are not excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and

services (unless the entity can demonstrate that taking such steps would

fundamentally alter the nature of the good, service, facility, privilege, advantage, or

accommodation being offered or would result in an undue burden) (42 U.S.C. §

12182(b)(2)(iii)).

      28.    Plaintiff is continuously aware of the violations within Defendant's

mobile website and is aware that it would be a futile gesture to attempt to utilize

and/or test the mobile website as long as those violations exist unless he is willing

to suffer additional discrimination.

      29.    Plaintiff is well aware that the ADA requires effective communications.

However, long after the required date of compliance, many public accommodations

refuse to comply leaving Plaintiff feeling excluded and rejected because he is

disabled. As a result, Plaintiff has suffered (and continues to suffer) frustration and

humiliation as the result of the discriminatory conditions present within Defendant's

mobile website. By continuing to operate its mobile website with discriminatory

conditions, Defendant contributes to Plaintiff's sense of isolation and segregation



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and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

privileges and/or accommodations available to the general public. By encountering

the discriminatory conditions within Defendant's mobile website and knowing that

it would be a futile gesture to attempt to utilize the mobile website unless he is

willing to endure additional discrimination, Plaintiff is deprived of the meaningful

choice of freely visiting and utilizing the same accommodations readily available to

the general public and is deterred and discouraged from doing so. By maintaining a

mobile website with violations, Defendant deprives Plaintiff the equality of

opportunity offered to the general public.

      30.    Plaintiff has suffered (and will continue to suffer) direct and indirect

injury as a result of Defendant’s discrimination until Defendant is compelled to

comply with the requirements of the ADA and conform its mobile website to WCAG

2.1 Level A and AA Guidelines.

      31.    Plaintiff has a realistic, credible, existing and continuing threat of

discrimination from Defendant’s non-compliance with the ADA with respect to its

mobile website. Plaintiff has reasonable grounds to believe that he will continue to

be subjected to discrimination in violation of the ADA by Defendant when he visits

the mobile website to test for compliance with the ADA. Plaintiff desires to access

the mobile website to assure himself that the mobile website is in compliance with

the ADA so that he and others similarly situated will have full and equal enjoyment



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of the mobile website without fear of discrimination.

      32.    Plaintiff is without adequate remedy at law and has suffered (and will

continue to suffer) irreparable harm. The Plaintiff and all others similarly situated

will continue to suffer such discrimination, injury and damage without the

immediate relief as requested herein.

      33.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to

grant Plaintiff Injunctive Relief, including an order to require Defendant to alter its

mobile website to make it readily accessible to and usable by Plaintiff and other

persons with vision impairments.

      WHEREFORE, Plaintiff James Watson hereby demands judgment against

Defendant The Paella Bar, LLC and requests the following injunctive and

declaratory relief:

      a.     The Court issue a Declaratory Judgment that determines that

             Defendant's mobile website is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq.;

      b.     The Court issue a Declaratory Judgment that Defendant has violated

             the ADA by failing to monitor and maintain its mobile website to

             ensure that it is readily accessible to and usable by persons with vision

             impairment;

      c.     The Court issue an Order directing Defendant to alter its mobile website



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           to make it accessible to, and useable by, individuals with disabilities to

           the full extent required by Title III of the ADA;

      d.   The Court issue an Order directing Defendant provide the appropriate

           auxiliary aids such that individuals with visual impairments will be able

           to effectively communicate with the https://www.pepescantina.com

           mobile website for purposes of comprehending Defendant’s menu

           selections and making reservations, and during that time period prior to

           the mobile website’s being designed to permit individuals with visual

           impairments to effectively communicate, requiring Defendant to

           provide an alternative method for individuals with visual impairments

           to effectively communicate so that disabled individuals are not impeded

           from obtaining the goods and services made available to the public

           through the mobile website.

      e.   The Court enter an Order directing Defendant to evaluate and neutralize

           its policies and procedures towards persons with disabilities for such

           reasonable time so as to allow Defendant to undertake and complete

           corrective procedures;

      f.   The Court enter an Order directing Defendant to continually update and

           maintain its mobile website to ensure that it remains fully accessible to

           and usable by visually impaired individuals;



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      g.   The Court award attorney’s fees, costs and litigation expenses pursuant

           to 42 U.S.C. § 12205; and,

      h.   The Court provide such other relief as the Court deems just and proper,

           and/or is allowable under Title III of the Americans with Disabilities

           Act.

Dated: June 27, 2022
                              Respectfully submitted,

                              /s/ J. Courtney Cunningham
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